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                    IN THE UNITED STATE DISTRICT COURT
                       FOR THE DISTRICT OF MINNESOTA



JOHN DOE,

              Plaintiff,                             CASE No. 16-cv-1127 (JRT/DTS)

v.
                                                   DEFENDANT'S OPPOSITION TO
UNIVERSITY OF ST. THOMAS,                        PLAINTIFF'S MOTION TO COMPEL

              Defendant.


                                    INTRODUCTION

        On March 1, 2017, the Court significantly narrowed the scope of Plaintiff John

Doe’s (“Plaintiff”) case. Specifically, in an Order on Defendant University of St.

Thomas’s (“UST”) motion to dismiss, the Court dismissed Plaintiff’s Title IX and

contractual claims from this lawsuit. All that remains, then, is Plaintiff’s negligence claim

– i.e., Plaintiff’s claim that UST breached its alleged duty to conduct the investigation,

adjudication, and appeal of the sexual misconduct claim against him with due care. The

motion before this Court seeks documents and information far beyond the scope of

relevance for this sole remaining claim. Because Plaintiff cannot satisfy the requisite

threshold showing of relevance, his motion to compel must be denied.

                       RELEVANT FACTUAL BACKGROUND

A.      THE NARROW SCOPE OF PLAINTIFF’S SURVIVING CLAIM

        Plaintiff John Doe (“Plaintiff”) initiated this action against Defendant University

of St. Thomas (“UST”) on April 29, 2016. Doc. 1. Plaintiff’s First Amended Complaint


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asserted against UST six claims, all of which stemmed from UST’s determination that

Plaintiff was responsible for a violation of its Sexual Misconduct Policy. See generally

Doc. 34. Three of Plaintiff’s claims were brought pursuant to Title IX of the Education

Amendments of 1972 and broadly alleged that UST discriminated against Plaintiff

“because of his sex.” Id. Two of Plaintiff’s claims alleged breach of contractual duties.

Id. Plaintiff’s final claim was one for negligence and alleged that, “[h]aving put in place a

student disciplinary process, including the policies and procedures manual, St. Thomas

owed a duty of care to plaintiff and others to conduct that process in a non-negligent

manner and with due care,” and that UST breached that alleged duty. Doc. 34 ¶¶ 209-210

        On March 1, 2017, the Court issued its Order granting in part and denying in part

UST’s motion to dismiss. Doc. 63. In that Order, the Court dismissed all three of

Plaintiff’s Title IX claims. In doing so, the Court held that, among other things, Plaintiff

failed to “plausibly allege circumstances suggesting gender bias motivated UST’s

disciplinary proceeding.” Doc. 63 at 9-10. The Court also dismissed Plaintiff’s breach of

contract claims. The Court denied UST’s motion to dismiss Plaintiff’s negligence claim,

but in doing so held that while it was “skeptical that the facts underlying this case will

ultimately establish a duty of care, a factual record must be developed to assess whether a

duty exists.” Doc. 63 at 20. Thus, following the March 1, 2017 Order, all that remains in

this case is Plaintiff’s negligence claim.

        In other words, what remains in this case is not a question of whether UST

violated Title IX and discriminated against Plaintiff “because of his sex,” but rather (1)

whether Defendant had a duty in tort to Plaintiff with respect to the complaint against

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him and the investigation of the complaint against him, (2) the scope of any such duty,

and (3) whether any such duty was breached. The two document requests that are the

subject of Plaintiff’s motion seek to expand this case far beyond its remaining narrow

scope.

B.       PLAINTIFF’S MOTION TO COMPEL AND HIS ALLEGED BASES
         THEREFOR

         In his motion to compel papers, Plaintiff paints a misleading and incomplete

picture of the course of discovery in this case. In the interest of brevity, UST will,

however, limit its recitation of discovery facts to the two specific discovery disputes at

issue.1 Notably, with respect to the two document requests at issue, Plaintiff has been

aware since July 13, 2017 of UST’s objections thereto. Yet, despite the fact that (1)

discovery in this case, with limited exceptions, closed on November 30, 2017 (Docs. 91

& 94) and (2) the Second Amended Pretrial Scheduling Order provides that “the

resolution of any outstanding discovery disputes” would be completed by January 31,

2018 (Doc. 94), Plaintiff failed to bring this matter to the Court’s attention until now.

         1.    Plaintiff’s demand for each and every training material ever received
               by any UST student or employee ever involved in any sexual
               misconduct matter

         Plaintiff’s Request No. 13 to his First Request for Production of Documents and

UST’s July 13, 2017 response thereto were, in full, as follows:

         REQUEST NO. 13: All documents including all agendas, written material,
         evaluations, assessments, videos concerning the training, certification or

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  While Plaintiff implies throughout his motion papers that UST has been less than
diligent in discovery, it is worthwhile to note that UST has produced 4,413 pages of
documents as compared to Plaintiff’s production of 165 pages. Grier Dec. ¶ 12.
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        guidance given to any Defendant employee, agent or student who was
        involved in any way in (a) the investigation, evaluation, prosecution,
        adjudication or appeal of the charge against John Doe (b) any other
        investigation, evaluation, prosecution, adjudication or appeal of any sexual
        misconduct matters.

        RESPONSE: Defendant objects to this Request as overbroad, unduly
        burdensome, and on the grounds that it seeks documents not relevant to
        Plaintiff’s remaining claim in this lawsuit to the extent it seeks each and
        every document, without limitation as to time, ever received by any
        employee of the University in connection with any training, certification, or
        guidance that they have received, attended, or participated in. Defendant
        further objects to this Request on the grounds that it seeks information not
        relevant to Plaintiff’s sole remaining claim and not reasonably calculated to
        lead to the discovery of admissible evidence because Plaintiff’s Complaint
        and responses to Defendant’s discovery requests make no allegation with
        respect to the educational background or training of any of Defendant’s
        administrators or employees involved in the investigation or adjudication of
        the complaint against John Doe. Defendant further refers Plaintiff to its
        Answer to Interrogatory No. 7.

Grier Dec., Ex. 1.

        On October 2, 2017, counsel for Plaintiff sent a letter making a “renewed demand

for” documents responsive to his Request No. 13. Grier Dec., Ex. 2. Plaintiff’s letter did

not provide a response to UST’s objections to that request. Id. Thus, on October 4, 2017,

counsel for UST responded to that renewed demand. Grier Dec., Ex. 3. As set forth in

that letter, UST asked that Plaintiff, “[s]o that we can meet and confer in good faith, . . .

provide an explanation as to why these Requests are (1) not overbroad, (2) not unduly

burdensome, and (3) seek relevant and discoverable documents.”

        Following additional email exchanges, counsel for Plaintiff provided the alleged

justification for the documents sought in his Request No. 13. Specifically, Plaintiff’s

counsel provided the following explanation as to the purported relevance and


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discoverability of all training materials ever received by any UST student or employee

ever involved in any sexual misconduct investigation:

        The Plaintiff alleges that the factfinders, and other individuals involved in
        the adjudication of allegations of sexual misconduct, were not properly
        trained. The failure by UST to properly train all of the individuals involved
        in the investigation and adjudication of sexual misconduct allegations on
        Defendant’s campus violated the standard of care required when
        undertaking the investigation and adjudication of allegations of sexual
        misconduct. The failure to properly train, supervise and monitor the
        training and conduct of the individuals involved in the investigation and
        adjudication of the foregoing allegations was negligent and resulted in
        injury to Plaintiff.

Grier Dec., Ex. 4.

        While maintaining its objections to Plaintiff’s document requests, UST

subsequently agreed to supplement its response to Plaintiff’s Interrogatory 7 to provide

additional information about training. That supplemental interrogatory response was

extensive and provided, in addition to the list of internal trainings conducted at UST

(which were provided in UST’s original response), a list of external trainings attended for

each individual involved in the investigation, adjudication, or appeal of the complaint

against John Doe. Grier Dec., Ex. 5. In his motion, Plaintiff’s counsel now complains that

UST employees did not recall during their depositions the specifics of every training they

ever attended. Pltfs. Br. at 7. However, Plaintiff’s counsel inexplicably failed to provide

this extensive discovery response to those employees to refresh their recollection. Grier

Dec. ¶ 7. Additionally, and contrary to Plaintiff’s assertion (see Pltfs. Br. at 8), the

training presentation given to the appeal board panel just before their involvement in this

case was produced in discovery. Grier Dec., Ex. 6.


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        Notably, despite UST’s repeated and well-founded objections to its overbreadth

Plaintiff never offered to narrow the scope of this document request. Grier Dec. ¶ 10.

Instead, Plaintiff has simply demanded, without equivocation, that each and every

document encompassed by that request be produced. Id.

        2.    Plaintiff’s demand for the production               of   federally-protected
              information regarding non-party students

        Plaintiff’s Request No. 17 to his First Request for Production of Documents and

UST’s July 13, 2017 response thereto were, in full, as follows:

        REQUEST NO. 17: All documents concerning any investigation,
        evaluation, prosecution, adjudication, or appeal of a charge of sexual
        misconduct or similar offense made to the Defendant from August 1, 2005
        to the present.

        RESPONSE: Defendant objects to this [request as] overbroad, unduly
        burdensome, and on the grounds that it seeks documents not relevant to any
        remaining claim or defense in this lawsuit as claims and investigations of
        claims of sexual misconduct against other students of Defendant have no
        bearing on (1) whether Defendant had a duty in tort to Plaintiff with respect
        to the complaint against him and the investigation of the complaint against
        him, (2) the scope of any such duty, or (3) whether any such duty was
        breached. Defendant further objects to this Request on the grounds that it
        seeks documents from confidential education records of students who are
        completely unrelated to this case and that such records are protected from
        disclosure by the Family Educational Rights and Privacy Act (FERPA).

Grier Dec., Ex. 1. As with its Request No. 13, Plaintiff’s subsequent communications

simply demanded production of all documents responsive to Request No. 17 without

explanation as to (1) their relevance beyond Plaintiff’s dismissed Title IX claims

regarding alleged bias or discrimination “on the basis of sex,” or (2) why FERPA did not

preclude production. Grier Dec., Exhs. 2-4.




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        On March 7, 2018, counsel for UST and counsel for Plaintiff participated in a

meet and confer telephone call. Grier Dec. ¶ 11. During the course of that call, counsel

for UST inquired into whether Plaintiff would be amenable to UST providing him with

general information that Plaintiff was hoping to obtain from the spreadsheet without

disclosing personal identifying information of non-party students. Id. Plaintiff’s counsel

insisted upon the production of the entire unredacted spreadsheet. Id.

        After reviewing Plaintiff’s motion to compel, counsel for UST again reached out

to counsel for Plaintiff with the following comment regarding a potential resolution to

this discovery dispute:

        [W]ith respect to your motion to compel a spreadsheet that includes
        information about unrelated sexual misconduct complaints and
        investigations, when we spoke last week I asked if there was any way that
        we could agree to get you the information that you want from that
        spreadsheet without disclosing the names of non-party students involved. It
        appears from your motion and from the case that you cite therein that you
        are now seeking the production of something less than the entire unredacted
        spreadsheet. It would seem to me, then, that we may be able to resolve this
        without the need for a motion.

Grier Dec., Ex. 7. Counsel for Plaintiff never responded but instead contacted the Court

to initiate the informal dispute resolution process.

                                       ARGUMENT

I.      PLAINTIFF’S MOTION TO COMPEL EACH AND EVERY TRAINING
        MATERIAL EVER RECEIVED BY ANY UST STUDENT OR EMPLOYEE
        EVER INVOLVED IN A SEXUAL MISCONDUCT INVESTIGATION
        MUST BE DENIED

        Plaintiff’s motion to compel the production of all training materials received by

any and all UST students and employees ever involved in a sexual misconduct


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investigation should be denied. Fatally, Plaintiff has not made the “threshold showing of

relevance” as is required “before parties are required to open wide the doors of

discovery.” Shukh v. Seagate Tech., LLC, 295 F.R.D. 228, 237 (D. Minn. 2013) (quoting

Hofer v. Mack Trucks, Inc., 981 F.2d 377, 380 (8th Cir. 1992)). “[C]ourts have repeatedly

held that the price of entry even to discovery, is for the plaintiff to allege a factual

predicate concrete enough to warrant further proceedings, which may be costly and

burdensome.” In re Medtronic, Inc. Sprint Fidelis Leads Prods. Liab. Litig., MDL 08-cv-

1905 (RHK/JSM), 2009 WL 294353, at *2 (D. Minn. Feb. 5, 2009) (citations and

quotations omitted, italics in original). And, following the amendment to Fed. R. Civ. P.

26(b)(1) on December 1, 2015, “[n]o longer is it good enough to hope that the

information sought might lead to the discovery of admissible evidence. In fact, the old

language to that effect is gone.” Gilead Sciences, Inc. v. Merck & Co., Inc., No. 5:13-CV-

04057-BLF, 2016 WL 146574, at *1 (N.D. Cal. Jan. 13, 2016). Indeed, the party seeking

to compel discovery must demonstrate not only that the discovery sought is relevant, but

that it is “proportional to the needs of the case.” Fed. R. Civ. P. 26(b)(1). And, “[w]hile

the standard of relevance in the context of discovery is broader than in the context of

admissibility . . . this often intoned legal tenet should not be misapplied so as to allow

fishing expeditions in discovery.” Hofer v. Mack Trucks, Inc., 981 F.2d 377, 380 (8th Cir.

1992).

         Plaintiff’s demand that UST produce each and every training material ever

received by any student or employee ever involved in a sexual misconduct investigation

is nothing more than a fishing expedition. Indeed, this is demonstrated by Plaintiff’s own

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motion papers. While Plaintiff’s justification for his demand for these documents during

the course of discovery was his purported allegation that the factfinders and others

involved in this case “were not properly trained” (Grier Dec., Ex. 4), Plaintiff’s Amended

Complaint contains no such allegation. See generally Doc. 34. Furthermore, following

receipt of UST’s supplemental response to Interrogatory No. 7 (which set forth the

extensive training received by the relevant individuals in this case), Plaintiff’s

justification for his demand shifted. Now, more than three and a half months after the

close of discovery, Plaintiff asks this Court to compel the production of this extensively

broad category of documents because they “may go to show an institutional bias that

violates the duty of care Defendant owes to Plaintiff and explains or leads to other

discoverable evidence of why defendant failed to fulfill the terms and conditions of its

own Sexual Misconduct Policy and Procedures.” Pltfs. Br. at 9. In other words, Plaintiff

asks this Court to allow him to comb through every document ever received at a training

by any UST student or employee ever involved in a sexual misconduct investigation in

the hopes he can find some sentence or document to rely upon in concocting a case for

“institutional bias.”

        Plaintiff’s newly-devised justification for his demand fairs no better in establishing

the relevance of the documents that he asks this Court to compel as claims related to

alleged institutional bias and discrimination “on the basis of sex” were dismissed on

March 1, 2017. Plaintiff cannot now be permitted to use the discovery process (three and

a half months after the close of discovery) in a last-ditch effort to resurrect these

dismissed claims. The only questions remaining in this case are (1) whether Defendant

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had a duty in tort to Plaintiff with respect to the complaint against him and the

investigation of the complaint against him, (2) the scope of any such duty, and (3)

whether any such duty was breached. Plaintiff has made no showing as to how each and

every training material ever received by any student or employee of UST ever involved in

a sexual misconduct investigation are in any way relevant to these questions.

        Finally, even if Plaintiff had made his required showing of relevance (which he

has not), the overbreadth of Plaintiff’s request demonstrates its disproportionality to the

needs of this case. Indeed, Plaintiff’s request for training materials applies, without

limitation as to time, to each and every UST student and employee ever involved in a

sexual misconduct investigation, the collection of which would take hundreds of hours

and significant attorneys’ fees. As a proportional compromise, UST provided Plaintiff

with an extensive list of internal trainings conducted at UST and external trainings

attended by those UST employees involved in the investigation, adjudication, and appeal

of the sexual misconduct complaint made against Plaintiff. That Plaintiff’s counsel chose

not to use this list in his depositions of those individuals does not justify granting his

motion to compel.

        Despite its objections to relevancy, UST provided to Plaintiff in discovery

significant information regarding the training of those individuals involved in the

investigation, adjudication, and appeal of the sexual misconduct complaint made against

Plaintiff. While Plaintiff now insists that the information provided is not sufficient, he

was (1) aware of UST’s objections as of July 13, 2017, (2) aware of the November 30,

2017 close of discovery, and (3) aware of the Second Amended Scheduling Order, which

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provides that “the resolution of any outstanding discovery disputes” would be completed

by January 31, 2018 (Doc. 94). Plaintiff failed to bring this issue to the Court’s attention

until now, and his request at this late stage for the production of these irrelevant materials

should be denied.

II.     PLAINTIFF’S MOTION TO COMPEL FEDERALLY-PROTECTED
        INFORMATION REGARDING NON-PARTY STUDENTS MUST BE
        DENIED

        Among other things, the Family Educational Rights and Privacy Act (FERPA)

prohibits the “release of education records (or personally identifiable information

contained therein other than directory information, as defined in paragraph (5) of

subsection (a)) of students without the written consent of their parents to any individual,

agency, or organization . . ..” 10 U.S.C. § 1232(b)(1); see also U.S. v. Miami Univ., 91 F.

Supp. 2d 1132, 1145 (S.D. Ohio 2000) (“FERPA imposes a direct obligation on

universities not to disclose ‘educational records.’”). “The purpose of FERPA is: (1) to

create a right of access to student records for parents and students; and (2) to protect the

privacy of those records by preventing unauthorized access by third parties.” Id. at 1140

(citing 120 Cong. Rec. 39,858, 39,862-39,863 (Dec. 13, 1074); 121 Cong. Rec. 7974

(May 13, 1975)).

        Plaintiff asks this Court to disregard FERPA and the purpose therefore and to

issue an Order requiring UST to disclose to Plaintiff’s counsel the “educational records”

of non-party students (and, necessarily, to undertake the massive task of giving notice to

each and every such student). Plaintiff’s justification for this request is two-fold. First,

Plaintiff argues that this information is relevant because he has argued that:

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        Defendant’s investigation and adjudication of the allegations of sexual
        misconduct against Plaintiff were not free from bias, failed to comport with
        basic procedural fairness, and were arbitrary . . . [and that] [t]he documents
        Request 17 calls for will . . . show a larger picture of Defendant’s historical
        application of its Sexual Misconduct Policy and Procedures and allow
        Plaintiff to further explore the extent of the duty of care Defendant
        assumed.

Pltfs. Br. at 10. Second, Plaintiff cites to a ruling in Doe v. Trustees of Boston College

requiring the disclosure of certain information regarding previous sexual misconduct

investigations. Pltfs. Br. at 14. There are, however, two critical problems with Plaintiff’s

arguments.

        First, the entire holding of the court in Trustees of Boston College was as follows:

        Having balanced all of the relevant factors (including, but not limited to,
        the foregoing factors) in determining whether the requested information is
        relevant to plaintiff's claims and proportional to the needs of this case,
        defendant is ordered to produce any statements indicative of gender bias,
        including statements indicative of a motivation of a chauvinistic view of the
        sexes, see Bleiler v. College of Holy Cross, 2013 WL 4714340, at *5
        (D.Mass. Aug. 26, 2013), appeal dismissed, No. 13-2245 (1st Cir. April 8,
        2015): (1) made by one or more of the decision makers on plaintiff's
        disciplinary tribunal during the past four years that is contained in the
        documents requested in document request number 26 (“the requested
        documents”); or (2) made by any Boston College official in a position to
        influence a decision maker on plaintiff's disciplinary tribunal during the
        past four years that is contained in the requested documents. For complaints
        of sexual assault or misconduct made by a student in the last three years,
        defendant is further ordered to identify the gender of each Boston College
        student against whom the complaint of sexual assault or misconduct was
        made, the finding on the complaint and the sanction or discipline imposed.
        Prior to disclosure of any part of a non-party student's educational record,
        defendant shall make a reasonable effort to notify the parent or non-party
        student whose record may be disclosed. Boston College may also redact
        personally identifiable information. See 20 U.S.C. § 1232g(b)(2); 34 C.F.R.
        § 99.31(9). The production of any part of a non-party student's educational
        record, see 20 U.S.C. § 1232g(a)(4), shall be subject to a protective order
        and the parties shall confer and attempt to agree upon such a protective
        order.

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Doe v. Trustees of Boston Coll., Civ. No. 15-10790, 2015 WL 9048225 at *1 (D. Mass.

Dec. 16, 2015) (emphasis added). In other words, the court required Boston College to

provide general and non-identifying information regarding previous investigations.2 That

court simply did not order, as Plaintiff asks the Court to do here, the College to produce a

document identifying each and every complainant and respondent in unrelated sexual

misconduct cases. Indeed, counsel for UST inquired into whether relief such as that

fashioned by the court in Boston College could be agreed upon by the parties but counsel

for Plaintiff refused any such compromise. Grier Dec. ¶ 11. Trustees of Boston College

simply does not justify the disclosure that Plaintiff seeks here – namely, the unredacted

production of a highly-sensitive and confidential document that includes the personal

identifying information of complainants and respondents in unrelated sexual misconduct

cases. UST’s concerns over producing this irrelevant information were proven justified

just last week when counsel for Plaintiff publicly filed, for the second time in this case,

documents and communications that included the personal information of non-party

students.

        Second, at the time the order cited by Plaintiff was made in Trustees of Boston

College, that case still included Title IX claims. See Trustees of Boston College, 2015

WL 9048225 at *1 (“The relevant factors under the amended rule [26(b)] vis-à -vis this

case include the importance of the requested information to resolve the causal connection

in the gender bias claims under Title IX” (emphasis added)). Following the Court’s

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  Namely, “the gender of each Boston College student against whom the complaint of
sexual assault or misconduct was made, the finding on the complaint and the sanction or
discipline imposed.” Trustees of Boston College, 2015 WL 9048225 at *1.
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March 1, 2017 Order dismissing Plaintiff’s Title IX claims, there is no such

corresponding justification for the disclosure of the information sought by Plaintiff. The

outcome of unrelated sexual misconduct investigations simply has no bearing on (1)

whether Defendant had a duty in tort to Plaintiff with respect to the complaint against

him and the investigation of the complaint against him, (2) the scope of any such duty, or

(3) whether any such duty was breached. Weighing the privacy interests of these non-

party students against the non-relevance of the requested documents to the limited issues

left in this case, Plaintiff’s motion to compel must be denied.3

III.     UST IS ENTITLED TO RECOVER THE FEES INCURRED RESPONDING
         TO PLAINTIFF’S MOTION
         Fed. R. Civ. P. 37(a)(5)(B) provides that if a motion to compel is denied the Court

         must, after giving an opportunity to be heard, require the movant, the
         attorney filing the motion, or both to pay the party or the deponent who
         opposed the motion its reasonable expenses incurred in opposing the
         motion, including attorney’s fees. But the court must not order this
         payment if the motion was substantially justified or other circumstances
         make an award of expenses unjust.

         For the reasons set forth above, Plaintiff’s motion to compel the production of

these irrelevant documents was not substantially justified. UST should, therefore, be

awarded the attorneys’ fees and costs it incurred in responding.




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  Given the irrelevance of the information sought by Plaintiff, his motion to compel
documents responsive to Request No. 17 should be denied in its entirety. In the
alternative, this Court should fashion its order to prevent the disclosure of the personal
identifying information of non-party students.
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                                      CONCLUSION

        UST respectfully requests that this Court deny Plaintiff’s motion in its entirety and

award UST its costs and fees incurred in responding to that motion.




Dated: April 11, 2018                           BRIGGS AND MORGAN, P.A.


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